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    2025 CO 10 Bradford Wayne Snedeker, Petitioner  v.  The People of the State of Colorado. Respondent No. 23SC511Supreme Court of Colorado, En BancApril 28, 2025
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; C.A.R.
 49 &amp;50 Certiorari to the Colorado Court of Appeals Court
 of Appeals Case Nos. 21CA399 &amp; 23CA1025
 
 
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
 for Rehearing DENIED.
 
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
 JUSTICE SAMOUR and JUSTICE BERKENKOTTER did not participate.
 